AO 106 (Rev. 04/10) CAR Gia BS WsOQOO/-CKD Document 1 Filed 01/05/18 poof [- D

 

  
 

UNITED STATES DISTRICT COURT JAN 05 2018
for the EASTERN pistons ALIFORNIA

 
  

Eastern District of California

In the Matter of the Search of

Case No.

)
)
An iPhone with IMEI 352004069015838

&18-sw09 007 CKD
)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be.searched and give its location):

 

SEE ATTACHMENT A-2, attached hereto and incorporated by reference.
located in the Eastern District of California , there is now concealed (identify the

person or describe the property to be seized):

SEE ATTACHMENT B-2, attached hereto and incorporated by reference

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M1 evidence of a crime;
M contraband, fruits of crime, or other items illegally possessed;
M property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. § 846 Conspiracy to Distribute Methamphetamine
21 U.S.C. § 841(a)(1) Possession with Intent to Distribute Methamphetamine

The application is based on these facts:
SEE AFFIDAVIT, attached hereto and incorporated by reference.

(1 Continued on the attached sheet.

[1 Delayed notice days (give exact ending date if more than 30 ) is requested.
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

a Gfpplicant’s signature

Trang Le
Special Agent, DEA

Printed name and title
Sworn to before me and signed in my presence. .
Date: i] 4 d() / y ho
Judge’s signatuye

City and state: Sacramento, California Carolyn K. Delaney, U.S. Magistrate Judge

Printed name and title
Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 2 of 18

ATTACHMENT A-2
Item to be Searched

An iPhone with IMEI # 352004069015838 and seized on July 28, 2016. The Device is currently

in the custody of the Drug Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the

electronically stored information described in Attachment B-2.
Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 3 of 18

ATTACHMENT B-2
Items to be Seized

All records that:
1. Are present on the device described in Attachment A-2;
2. Relate to violations of 21 U.S.C. § 841(a)(1) or 21 U.S.C. §§ 841 (a)(1), 846;
3. Involve Gary Roberts; Ruth Kellner; Rodney Sharp; Alfonso Rivera, Jr.; Cesar Erendira
Nava; Georgina E. Lopez Quintero; or Ubaldo Lopez Castano; and
4. Relate to the period between about March 3, 2016 and about April 19, 2017.

These records include:

1.
2.

Lists of customers and related identifying information;

Types, amounts, and prices of drugs trafficked as well as dates, places, and amounts of
specific transactions;

Any information related to sources of drugs (including names, addresses, phone numbers,
or any other identifying information);

Any information recording a schedule or travel between about March 3, 2016 and about
April 19, 2017;

All bank records, checks, credit card bills, account information, and other financial
records;

Any and all names, words, telephone numbers, email addresses, time/date information,

messages or other electronic data in the memory of the mobile telephone or on a server

and associated with the mobile telephone, including:

a. Incoming call history;
b. Outgoing call history;

c. Missed call history;

d. Outgoing text messages;

Incoming text messages;
Draft text messages;

Telephone book;

pm ye om 9

Data screen or file identifying the telephone number associated with the mobile

telephone searched;
Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 4 of 18

i. Data screen, file, or writing containing serial numbers or other information to
identify the mobile telephone searched;

j. Voicemail;

k. User-entered messages (such as to-do lists); and

1. Stored media such as photographs or video;

7. Any passwords used to access the electronic data described above;

8. Any and all locations, addresses, GPS coordinates, names, time/date information, or other
electronic data related to addresses and driving directions;

9. Data and information related to stored applications and/or websites used to communicate
with associates and co-conspirators;

10. Records of Internet Protocol addresses used;

11. Records of Internet activity, including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user entered into any
Internet search engine, and records of user-typed web addresses; and

12. Evidence of user attribution showing who used or owned the devices at the time the
things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history.

As used above, the terms “records” and “information” include all of the foregoing items of
evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.
o CO “SI DR nN BF

10
11

12

13
14
15

16

17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 5 of 18

McGREGOR W. SCOTT
United States Attorney

AMANDA BECK

Assistant United States Attorney
501 I Street, Suite 10-100
Sacramento, CA 95814 -
Telephone: (916) 554-2700
Facsimile: (916) 554-2900 —

Attorneys for Plaintiff
United States of America

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

In the Matter of the Search of: | | CASE NO.

a Garmin GPS Nuvi Device with identifying AFFIDAVIT IN SUPPORT OF AN APPLICATION.
numbers 55LM #3A3286169; an iPhone with UNDER RULE 41 FOR A WARRANT TO:
IMEI 352004069015838; a black Alcatel phone] sRARCH DEVICE

with MEID HEX A100004AD475B7; a black
Samsung with S/N 358921058524963; a black
ZIE phone with S/N 321742940964; a black
and silver Alcatel/MetroPCS phone with IMEI
013911001848681; a black Nokia phone with
IMEI 353047066737796, all currently located
in the DEA Sacramento District Office

 

 

A. I, Trang Le, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

2. - Imake this affidavit in support of an application under Rule 41 of the Federal Rules of .
Criminal Procedure for a search warrant authorizing the examination of property-—seven electronic
devices described in Attachments A-1 through A-7—which are currently in law enforcement possession, |
and the extraction from that property of électronically stored information described in Attachments B-1
through B-7. | |

3. Tama Special Agent with the Drug Enforcement Administration and have been since

December 2005. I was trained as a DEA special agent at the DEA/FBI Academy in Quantico, Virginia.

AFFIDAVIT “I

 
ies)

Oo OU

10
1
12
13
14
15
16
17
18
19
20
21

22

23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 6 of 18

The sixteen-week course included several hundred hours of comprehensive, formalized instruction in
basic narcotic investigations, drug identification, detection, familiarization with United States narcotics
laws, financial investigations and money laundering, identification and seizure of drug-related assets,
and undercover operations.

4. Jama law enforcement officer of the United States within the meaning of Title 18,.
United States Code, Section 2510(7), and I am empowered by law to conduct investigations and to make
arrests for federal felony offenses. | |

5. [have participated in investigations of traffickers in heroin, methamphetamine, and
cocaine. I have also participated in numerous investigations that have involved the use of confidential
informants, wire and physical surveillance, telephone toll analysis, investigative interviews, and the
service of search and arrest warrants. As a result, I have encountered and become familiar with the
various tools, methods, trends, paraphernalia, and related articles used by traffickers and trafficking
organizations in their efforts to import, conceal, manufacture, and distribute controlled substances. Jam
familiar with and aware of the terminology used by narcotics traffickers concerning narcotics and |
narcotics dealing in particular. I am also familiar with their use of wireless communication technologies
such as cellular telephones. The conclusions and opinions set forth below are based on my experience
and training as a special agent, my direct participation in this investigation, and conversations with other
law enforcement officers who are familiar with the facts and circumstances of this investigation.

6. Because this affidavit is submitted for the limited purpose of setting forth probable cause
for the requested search warrants, I have not included each and every fact known to me conceming this
investigation, but only what I believe are adequate facts to establish probable cause that evidence of
violations of Title 21, United States Code, Sections 841(a)(1) and 846 will be found in the devices to be
searched. | | |

I. IDENTIFICATION OF THE DEVICES TO BE EXAMINED

4. The property to be searched is a Garmin GPS Nuvi Device with identifying numbers |
55LM #3A3286169; an iPhone with IMEI 352004069015838; a black Alcatel phone with MEID HEX
Al 00004AD475B7: a black Samsung with S/N 358921058524963; a black ZTE phone with S/N
321742940964: a black and silver Alcatel/MetroPCS phone with IMEI 01391 1001 84868 1; a black

AFFIDAVIT 2

 
oOo “s DWN A BSP W WN

‘oO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
" 28

 

 

Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 7 of 18

Nokia phone with IMEI 353047066737796, hereinafter the “Devices.” The Devices are currently
located in the DEA Sacramento District Office and further described in Attachments A-1 through A-7.

5. The applied-for warrant would authorize the forensic examination of the Devices for the

purpose of identifying electronically stored data particularly described in Attachments B-1 through B-7.
I. PROBABLE CAUSE

: 7. This Affidavit seeks authorization to search a Gatmin GPS device and six cellular
phones, collectively referred to as the “Devices.” Law enforcement officers seized the Devices during
the July 28, 2016, arrest of Ruth Kellner and Gary Roberts. Also during this arrest, officers seized about
944.8 grams of suspected crystal methamphetamine; $8,610 in cash; a digital scale with white powdery |
residue; a canister containing a white crystalline substance; and two large zip-lock baggies containing
white crystalline substance.

8. Based on my training and experience and upon the shared experience of other agents and
officers with whom I have worked, I know that it is common for people involved in narcotics trafficking
to communicate with other known and unknown suppliers, distributors, and couriers. I am also aware
that it is common for people involved in narcotics trafficking to rely on telephones and GPS devices to
execute their schemes. I am aware that GPS devices may contain addresses entered by the user. They |
may also contain other data, such.as a date and time stamps, a log of GPS coordinates for recent trips,
and other contextual data. | |

9. The Devices are in the lawful possession of the Drug Enforcement Administration. They |
came into the Drug Enforcement Administration’s possession in the following way:

10. On July 8, 2016, US. District Judge John A. Mendez signed an order authorizing the
interception of wire communications over telephone number 530-567-8437 (TT#1), a telephone believed
to be used by Alfonso Rivera. Interceptions began on July 9, 2016, and ended on August 7, 2016.

11. On July 23, 2016, at about 7:36 p.m., TT#1 received an incoming call from 530-925-
4698. This phone was used by Ruth Kellner, whom agents believed to be a methamphetamine customer
of Rivera’s. During the call, Kellner said she needed “2.” Rivera asked if Kellner could wait. Kellner
said that she needed to make money and that she had someone who needed “2” right at that moment.

Rivera acknowledged.

AFFIDAVIT : 3

 
wo

ao mn DN

\o

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 8 of 18

12. On July 24, 2016, at about 12:12 p.m., Kellner called Rivera on TT#1. During this call,
Kellner and Rivera continued discussing the transaction mentioned the previous day. Kellner indicated
that she needed “it” right now. She told Rivera that she could give him six thousand right now. She
asked Rivera to bring her whatever he could and said that she could give him the rest when she had
“Oregon’s money.” Agents assumed this referred to money she would obtain from a customer in
Oregon. Rivera told Kellner not to worry about it. |

13. On July 27, 2016, at about 8:58 p.m., Kellner called Rivera on TT#1. During this call,
Rivera asked “How many do you need?” Kellner then confirmed that she needed “two.” The parties
then argued over where to meet to do the transaction. Kellner told Rivera that it was “[y]our turn” to
drive to meet her. However, Rivera said he could not do so and, instead, said that “the next, next two
times I'll take them. to you.”

. 14. On July 28, 2016, at about 11:23 a.m., Kellner called Rivera on TT#1. During this call,
Rivera told Kellner that “the guy was supposed to bring it in the morning” but that “he has not called.”
Agents believed this meant that the methamphetamine supplier had not called. Rivera said that he
would “send Gary up there.” Agents believed this meant that Gary Roberts would be traveling to
Redding, CA. Kellner acknowledged and said she would be in “Redding at 2.”

15. At 11:52 am., TT#1 made an outgoing call to telephone number (530) 351-5755, a
telephone believed to be primarily used by Cesar Erendira Nava (“Nava’s phone”). During the call,
Rivera told Nava that “the girl is ready and she will go near Redding.” Agents believed Nava was
referring to Kellner’s readiness to buy narcotics. Rivera said that he might have to see “the other lady as
well” (another narcotics customer). Rivera and Nava agreed to talk later.

16. At2:01 p.m., TT#1 made an outgoing call to Nava’s phone. Rivera asked if Nava was on
his way. Nava replied that he was just leaving” and that he would be there in about “20 minutes.” At
2:21 p.m., TT#1 called Nava’s phone again. Nava said that he was just about to arrive.

17. Agents had established video surveillance of 3810 Ilinois Avenue, Corning, CA, where
they believed Nava lived. This video footage shows that, at about 2:28 p.m., Rivera was walking in
front of the residence and wearing a white tank top, blue jeans, and a tan baseball cap. A white Dodge .

truck bearing California license plate 5T21481 and registered to Gary Roberts was parked near the front

AFFIDAVIT 4

 
> Ww i)

Co OF SI NHN ON

10
11
12
13
14
15
16

17

18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 9 of 18 |

door. At 2:29 p-m., Rivera was seen walking out to the front of the property where a black 2011
Mercedes SUV was parked. A person wearing blue jeans and a purple top walked to the rear of the
black Mercedes, opened the back hatch, and removed a paper bag. The person then walked toward the
front driver’s side of the Mercedes and out of view: At 2:30 p.m., the black Mercedes left the area.

18. At about 2:10 p.m., Kellner called Rivera on TT#1. During this call, Rivera told Kellner
that “Rodney and, and Gary are going,” and that “[t]hey been gone.”

19. At2:33 p.m., Rivera was standing near the front door of the residence with a white man
wearing a black tank top and black shorts. Agents later identified this man as Rodney Sharp. Rivera
was also standing with a second white man wearing jean shorts and no shirt. Agents later identified him
as Gary Roberts, Sharp was seen carrying a weighted plastic bag in his hands. Shortly thereafter,
Roberts sat in the white Dodge’s driver’s seat, and Sharp — carrying the white plastic bag — sat in the
front passenger’s seat. The white Dodge left the property at about 2:34 p.m.

20. Surveillance units followed the white Dodge until about 4:30 p.m., when a California
Highway Patrol (CHP) officer stopped it for a traffic violation. When the CHP officer stopped the car,
he found that Gary Roberts was in the driver’s seat. Rodney Sharp was in the right front passenger’s
seat. Ruth Kellner was in the left rear passenger’s seat, and Richard Clark was in the right rear
passenger’s seat.

21. Following a narcotics K-9 alert on the vehicle, officers searched the truck. Inside, they
found a plastic bag containing about 944.8 grams of crystal methamphetamine as well as about $8,610 in
United States currency in the Dodge truck. They also found a Garmin GPS Nuvi Device with
identifying numbers 55LM #3A3286169; an iPhone with IMEI 352004069015838; a black Alcatel
phone with MEID HEX A100004AD475B7; a black Samsung with S/N 358921058524963; a black
ZTE phone with S/N 321742940964; a black and silver Alcatel/MetroPCS phone with IMEI
013911001848681; a black Nokia phone with IMEI 353047066737796. - -,

-22. Kellner and Roberts were arrested at the conclusion of this traffic stop and then arrested
again in April 2017 on federal charges stemming, in part, from the traffic stop. Sharp was arrested in
April 2017 on federal charges stemming, in part, from the traffic stop. All three are now charged with

violations of 21 U.S.C. § 841(a)(1), Possession with Intent to Distribute Methamphetamine, and 21

AFFIDAVIT 5

 
a

a DH wm

10]

ie
12
2B
14
45
16
17
18
19
20
2]
22
23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 10 of 18

U.S.C. §§ 846, 841(a)(1), Conspiracy to Possess with Intent to Distribute Methamphetamine.

23.

The Drug Enforcement Administration might already have all necessary authority to

examine the Devices. However, I seek these warrants out of an abundance of caution that examining the

Devices will comply with the Fourth Amendment and other applicable laws.

24.

IV. TECHNICAL TERMS

’ Based on my training and experience, I use the following technical terms to convey the

following meanings:

a)

b)

AFFIDAVIT

Wireless telephone: A wireless telephone (or mobile telephone, or cellular telephone) is
a handheld wireless Device used for voice and data communication through radio signals.

These telephones send signals through networks of transmitter/receivers, enabling

‘communication with other wireless telephones or traditional “land line” telephones. A

wireless telephone usually contains a “call log,” which records the telephone number,
date, and time of calls made to and from the phone. In addition to enabling voice
communications, wireless telephones offer a broad range of capabilities. These
capabilities include: storing names and phone numbers in electronic “address books;”
sending, receiving, and storing text messages and e-mail; taking, sending, receiving, and
storing still photographs and moving video; storing and playing back audio files; storing —
dates, appointments, and other information on personal calendars; and accessing and
downloading information from the Internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the device.

GPS: A GPS navigation Device uses the Global Positioning System to display its current
location. It often contains records the locations where it has been.. Some GPS navigation
devices can give a user driving or walking directions to another location. These devices
can contain records of the addresses or locations involved in such navigation. The Global
Positioning System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the current time, combined

with a special sequence of numbers. These signals are sent by radio, using specifications

 
Oo m~T N

\o

10
ou
12
13
14
15
16
17

18
19
- 20
21
22
23
24
25

26

27
28

 

 

Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 11 of 18

that are publicly available. A GPS antenna on Earth can receive those signals. When a
GPS antenna receives signals from at least four satellites, a computer connected to that
antenna can mathematically calculate the antenna's latitude, longitude, and sometimes
altitude with a high level of precision. —

25. Based on my training, experience, and research, I know that the Devices have capabilities
that allow them to serve as wireless telephones and/ or, in one case, as a GPS. In my training and |
experience, examining data stored on devices of this type can uncover, among other things, evidence
that reveals or suggests who possessed or used the device.

VY. ELECTRONIC STORAGE AN D FORENSIC ANALYSIS

 

26.  Basedon my knowledge, training, and experience, I know that electronic devices can
store information for long periods of time. Similarly, things that have been viewed via the Internet are
typically stored for some period of time on the device. This information can sometimes be recovered _
with forensics tools.

27. Forensic evidence. As further described in Attachment B, this application seeks’
permission to locate not only electronically stored information that might serve as direct evidence of the
crimes described on the warrant, but also forensic evidence that establishes how the Devices was used,
the purpose of its use, who used it, and when. There is probable cause to believe that this forensic |
electronic evidence might be on the Devices because: |

| a) Data on the storage medium can provide evidence of a file that was once on the storage
medium but has since been deleted or edited, or of a deleted portion of a file (such as a
- paragraph that has been deleted from a word processing file), |
b) Forensic evidence on the Devices can also indicate who has used or controlled them.
This “user attribution” evidence is analogous to the search for “indicia of occupancy”
while executing a search warrant at a residence.
c) A person with appropriate familiarity with how an electronic Device works may, after
examining this forensic evidence in its proper context, be able to draw conclusions about
-how electronic devices were used, the purpose of their use, who used them, and when.

d) The process of identifying the exact electronically stored information on a storage

AFFIDAVIT 7

 
sa HR A Bb

10
11
12
13

14}

15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 12 of 18.

medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed bya review team and
passed along to investigators. Whether data stored ona computer is evidence may
depend on other information stored on the computer and the application of knowledge

- about how a computer behaves. Therefore, contextual information necessary to
understand other evidence also falls within the scope of the warrant.
Further, in finding evidence of how the Devices were used, the purpose of their use, who
used them, and when, sometimes it is necessary to establish that a particular thing is not
present on a storage medium.

28. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
warrant I am applying for would permit the examination of the Devices consistent with the warrant. The
examination may require authorities to employ techniques, including but not limited to computer-
assisted scans of the entire medium, that might expose many parts of the Devices to human inspection in
order to determine whether it is evidence described by the warrant.

29. Manner of execution. Because this warrant seeks only permission to examine Devices
already in law enforcement’s possession, the execution of this warrant does not involve the physical |
intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.
//

H

H

AFFIDAVIT 8

 
bo

10
11
12
13
14
15
16
17
18
19
20
21
22

23

24
25
26
27
28

\o oe ~ DN Nr & wo

_ Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 13 of 18

. VI CONCLUSION |
30. submit that this affidavit supports probable cause for a search warrant authorizing the
examination of the Devices described in Attachments A-1 through A-6 to seek the items described in
Attachments B-1 through B-6. I submit that there is probable cause to believe that evidence of

violations of Title 21, United States Code, Sections 841(a)(1) and 846 will be found on these devices.

Respectfully submitted,

 

Gs é Z

Special Agent
Drug Enforcement Administration

Subscribed and sworn to before me on: / Y JO [ i
‘, / hy : . ,

 
 

 

 

 

The Honorable Carolyn K. Delaney !
UNITED STATES MAGISTRATE JUDGE

’ Approved as to form by AUSA AMANDA BECK

AFFIDAVIT 9

 
. Case 2:18-sw-00007- CKD Document 1 Filed 01/05/18 Page 14 of 18
AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT
for the

Eastern District of California
In the Matter of the Search of

Case No. Boy 0 07 ----CKD
An iPhone with IMEI 352004069015838 @18-sw' 00 |

 

SEARCH AND SEIZURE WARRANT |

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern District of ___ California
(identify the person or describe the property to be searched and give its location):

SEE ATTACHMENT A-2, attached hereto and incorporated by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENT B-2, attached hereto and incorporated by reference.

YOU ARE COMMANDED to execute this warrant on or before / I} i g/d 20 Y~ (not to exceed 14 days)
O in the daytime 6:00 a.m. to 10:00 p.m. WM at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was s taken, or leave the copy and receipt at the place where the
_ property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory -
as required by law and promptly return this warrant and inventory to: any authorized U.S. Magistrate Judge in ‘the Eastern
District of California.

 

(1 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C. .
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

[1 for days (not to exceed 30) L1 until, the facts Justifying, the later specific date of

Date and time issued: iy | DY a i > 3 Oe fp nN (dw) le lo

Judge's signaif re

 

City and state: Sacramento, California Carolyn K. Delaney, U.S. t” Judge
, Printed name and title

 
Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 15 of 18
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2) (modified)

 

Return

 

Case No.: | Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

 

I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.

 

Subscribed, sworn to; and returned before me this date.

 

 

Signature of Judge Date

 

 
Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 16 of 18

ATTACHMENT A-2
Item to be Searched

An iPhone with IMEI # 352004069015838 and seized on July 28, 2016. The Device is currently

in the custody of the Drug Enforcement Administration. .

This warrant authorizes the forensic examination of the Device for the purpose of identifying the

electronically stored information described in Attachment B-2.
Case 2:18-sw-00007-CKD Document 1 Filed 01/05/18 Page 17 of 18

ATTACHMENT B-2
Items to be Seized

All records that:

. Are present on the device described in Attachment A-2;

Relate to violations of 21 U.S.C. § 841(a)(1) or 21 U.S.C. §§ 841 (a)(1), 846;
Involve Gary. Roberts; Ruth Kellner; Rodney Sharp; Alfonso Rivera, Jr.; Cesar Erendira
Nava; Georgina E. Lopez Quintero; or Ubaldo Lopez Castano; and

Relate to the period between about March 3, 2016 and about April 19, 2017.

These records include:

1.
2.

Lists of customers and related identifying information;

Types, amounts, and prices of drugs trafficked as well as dates, places, and amounts of
specific transactions; .

Any information related to sources of drugs (including names, addresses, phone numbers,

or any other identifying information);

_ Any information recording a schedule or travel between about March 3, 2016 and about

April 19, 2017;

All bank records, checks, credit card bills, account information, and other financial
records; . |

Any and all names, words, telephone numbers, email addresses, time/date information,
messages or other electronic data in the memory of the mobile telephone or on a server
and associated with the mobile telephone, including:

Incoming call history;

SC P

Outgoing call history;
Missed call history;

a 9

Outgoing text messages;
Incoming text messages;
Draft text messages;

Telephone book;

ro mh 9

Data screen or file identifying the telephone number associated with the mobile

telephone searched;
Case 2:18-sw-00007-CKD Document1 Filed 01/05/18 Page 18 of 18

i. Data screen, file, or writing containing serial numbers or other information to
identify the mobile telephone searched;
- Jj. Voicemail;
k. User-entered messages (such as to-do lists); and
1. Stored media such as photographs or video;

7. Any passwords used to access the electronic data described above;

. 8. Any and all locations, addresses, GPS coordinates, names, time/date information, or other
electronic data related to addresses and driving directions; | .

9. Data and information related to stored applications and/or websites used to communicate
with associates and co-conspirators; .

10. Records of Internet Protocol addresses used;

11. Records of Internet activity, including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user entered into any
Internet search engine, and records of user-typed web addresses; and

12. Evidence of user attribution showing who used or owned the devices at the time the
things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history.

As used above, the terms “records” and “information” include all of the foregoing items of
evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that .

can store data) and any photographic form.
